JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

 

 

Criminal Case Cover Sheet U.S. District Court ~ District of Massachusetts
Place of Offense: Category No. Investigating Agency HSI

City Monson Related Case Information:

County _Hampden County Superseding Ind./ Inf. Case No.

 

Same Defendant New Defendant
Magistrate Judge Case Number
Search Warrant Case Number 22-MJ-3139, 3140, 3141, 3159
R 20/R 40 from District of

 

 

Defendant Information:

 

 

 

Defendant Name DAVID TWEED Juvenile: [| Yes No
Is this person an attorney and/or a member of any state/federal bar: [| Yes No

Alias Name

Address City & State) Kulpmont, PA

Birth date (Yr only): 1978 SSN (last4#);_8019 Sex M__ Race: White Nationality: USA

Defense Counsel if known: Address

 

 

Bar Number

 

U.S. Attorney Information:

 

 

 

AUSA Catherine G. Curley Bar Number if applicable _MA 687568
Interpreter: [| Yes No List language and/or dialect:
Victims: [V]¥es [__]No If yes, are there multiple crime victims under 18 USC§3771(d)(2) [] Yes No
Matter to be SEALED: Yes [| No
[V]Warrant Requested [] Regular Process [J In Custody

Location Status:

 

 

 

 

 

 

Arrest Date

[_]Already in Federal Custody as of in

[_ ]Atready in State Custody at [Serving Sentence [Awaiting Trial
[Jon Pretrial Release: Ordered by: on

Charging Document: L] Complaint [ ] Information Indictment

Total # of Counts: [Petty To [__]Misdemeanor ————— Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: 08/25/2022 Signature of AUSA: Liv Ln Lo
JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk):

 

Name of Defendant DAVID TWEED

U.S.C. Citations

Index Key/Code Description of Offense Charged Count Numbers
Sexual Exploitation of Children
Set] 18 U.S.C. §§ 2251(a), (e) l

 

Set 2

 

 

Set 3

 

 

Set 4

 

 

Set 5

 

 

Set 6

 

 

Set 7

 

 

Set 8

 

 

Set 9

 

 

Set 10

 

 

Set 11

 

 

Set 12

 

 

Set 13

 

 

Set 14

 

 

Set 15

 

 

ADDITIONAL INFORMATION:

 

 

 

 

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
